           Case 8:22-cr-00209-PJM Document 32 Filed 12/28/22 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA                     *

v.                                           *        Crim. No.: PJM-22-0209


NICHOLAS ROSKE                               *

               *      *     *      *     *       *     *     *      *     *

                                  STATUS REPORT

         Undersigned counsel writes to provide the Court with an update on the status

of Nicholas Roske’s case and to respectfully request that the parties be permitted to

provide another status update in 60 days.

         Counsel continues to investigate defenses to the government’s allegations and

requires additional time to determine whether a resolution may be reached short of

trial.   Therefore, without objection from the government, the defense respectfully

requests that they be permitted to provide a further update the Court on or after

February 28, 2022.

         The defense consents to tolling the speedy trial clock and excluding this period

of delay pursuant to 18 U.S.C. § 3161(h)(7)(A) as the ends of justice are served by

permitting the parties a brief delay in light of the defense’s need to thoroughly

investigate the case.




                                             1
        Case 8:22-cr-00209-PJM Document 32 Filed 12/28/22 Page 2 of 2




        WHEREFORE, Mr. Roske, without objection from the government, requests

that the parties be permitted to file a further status update on or after February 28,

2022.




                                      Respectfully submitted,

                                      JAMES WYDA
                                      Federal Public Defender
                                        for the District of Maryland

                                      /s/

                                      Andrew R. Szekely
                                      Meghan G. Michael
                                      Assistant Federal Public Defender
                                      100 S. Charles Street, Tower II
                                      Suite 900
                                      Baltimore, MD 21201
                                      Tel: (410) 962-3962
                                      Fax: (410) 962-3976
                                      Email: andrew_szekely@fd.org
                                                meghan_michael@fd.org




                                            2
